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                   Case
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                                                                                                     N.Y.S.D. Case #
                                                                                                     15-cv-9141(RA)
     16‐3122‐cv
     Brady v. Schneiderman


                                       UNITED STATES COURT OF APPEALS
                                           FOR THE SECOND CIRCUIT

                                                       SUMMARY ORDER

     RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO
     A SUMMARY ORDER FILED ON OR AFTER JANUARY 1, 2007, IS PERMITTED AND IS
     GOVERNED BY FEDERAL RULE OF APPELLATE PROCEDURE 32.1 AND THIS COURT=S
     LOCAL RULE 32.1.1. WHEN CITING A SUMMARY ORDER IN A DOCUMENT FILED WITH
     THIS COURT, A PARTY MUST CITE EITHER THE FEDERAL APPENDIX OR AN ELECTRONIC
     DATABASE (WITH THE NOTATION ASUMMARY ORDER@). A PARTY CITING TO A
     SUMMARY ORDER MUST SERVE A COPY OF IT ON ANY PARTY NOT REPRESENTED BY
     COUNSEL.

            At a stated term of the United States Court of Appeals for the Second Circuit,
     held at the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of
     New York, on the 1st day of March, two thousand eighteen.

     PRESENT:                                                                           USDC SDNY
                         AMALYA L. KEARSE,                                              DOCUMENT
                         GUIDO CALABRESI,                                               ELECTRONICALLY FILED
                         DENNY CHIN,                                                    DOC #:   _________________
                             Circuit Judges.                                                        May 02, 2018
                                                                                        DATE FILED: ______________

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     JAMES H. BRADY,
                                   Plaintiff‐Appellant,

                                  v.                                                           16‐3122‐cv

     ERIC T. SCHNEIDERMAN, Attorney General
     for the State of New York,
                          Defendant‐Appellee.

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     FOR PLAINTIFF‐APPELLANT:                                               James H. Brady, pro se, Wyckoff, New
                                                                            Jersey.




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FOR DEFENDANT‐APPELLEE:                          David Lawrence III, Assistant Solicitor
                                                 General, Barbara D. Underwood,
                                                 Solicitor General, Steven C. Wu, Deputy
                                                 Solicitor General, for Eric T.
                                                 Schneiderman, Attorney General of the
                                                 State of New York, New York, New
                                                 York.

              Appeal from the United States District Court for the Southern District of

New York (Abrams, J.).


              UPON DUE CONSIDERATION, IT IS HEREBY ORDERED,

ADJUDGED, AND DECREED that the judgment of the district court is AFFIRMED as

set forth below.

              Plaintiff‐appellant James H. Brady, proceeding pro se, appeals from a

judgment entered August 15, 2016. Brady sued the New York Attorney General under

42 U.S.C. § 1983, seeking an injunction to require defendant‐appellee Eric T.

Schneiderman, Attorney General of the State of New York, to investigate and prosecute

alleged judicial corruption related to Bradyʹs prior unsuccessful state court litigation

over the air rights to the space above the building in which he owned an apartment.

The district court dismissed the complaint with prejudice because Brady lacked

standing to compel the Attorney General to investigate or prosecute the state court

judges who ruled against him, and Brady appealed. We assume the partiesʹ familiarity


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with the underlying facts, the procedural history of the case, and the issues on appeal.

              We review de novo a district courtʹs determination on standing. Rajamin v.

Deutsche Bank Natʹl Tr. Co., 757 F.3d 79, 84‐85 (2d Cir. 2014). To establish constitutional

standing, a plaintiff must show an injury in fact that is causally connected to the

challenged conduct and that is likely to be redressed by a favorable decision. Spokeo,

Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citing Lujan v. Defenders of Wildlife, 504 U.S.

555, 560‐61 (1992)). We conclude that the district court properly determined that Brady

lacked standing for substantially the reasons set forth in its July 13, 2016 opinion and

order.

              Although the judgment of the district court stated that the dismissal was

ʺwith prejudice,ʺ a caveat not applicable to dismissals for lack of federal jurisdiction, see

e.g., Carter v. HealthPort Techs., LLC, 822 F.3d 47, 54‐55 (2d Cir. 2016); Hernandez v. Conriv

Realty Assocs., 182 F.3d 121, 123 (2d Cir. 1999), we instead understand the district court

(a) to have meant that the complaint asserts only claims that Brady cannot pursue in

federal court, and (b) to have had in mind that Brady has been warned by the state

court not to continue his ʺnear perfect example of frivolous conductʺ in ʺprosecuting

claims that have either been determined or that he has been told are not ripe,ʺ see Brady

v. 450 W. 31st St. Owners Corp., 2014 WL 3515939, at *13 (N.Y. Sup. Ct. July 15, 2014).




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            We have considered all of Bradyʹs arguments and find them to be without

merit. Accordingly, the judgment is deemed amended to incorporate our

understanding set forth above, and as thus amended is AFFIRMED.

                                      FOR THE COURT:
                                      Catherine OʹHagan Wolfe, Clerk of Court




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